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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 BERNICE BURSH,

 Plaintiff,                                            Case No. 5:18-cv-00608-DAE

 v.                                                    Honorable Judge David A. Erza

 SECURITY SERVICE FEDERAL CREDIT
 UNION,

 Defendant.

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES BERNICE BURSH, (“Plaintiff’), by and through his attorneys,

SULAIMAN LAW GROUP, LTD., and, in support of his Notice of Voluntary Dismissal with

Prejudice, state as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismisses their claims against the Defendant, SECURITY SERVICE FEDERAL

CREDIT UNION , with prejudice. Each party shall bear its own costs and attorney fees.

Dated: August 27, 2018

                                                      Respectfully Submitted,

                                                      /s/ Nathan C. Volheim (Lead Attorney)
                                                      Nathan C. Volheim, Esq. #6302103
                                                      Counsel for Plaintiff
                                                      Admitted in the Western District of Texas
                                                      Sulaiman Law Group, Ltd.
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                                                      Fax: (630)575-8188
                                                      nvolheim@sulaimanlaw.com
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                                 CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that on August 27, 2018, a true and correct copy of the

above and foregoing document was filed with the Court via CM/ECF and served on all parties

requested electronic notification.



                                                    /s/ Nathan C. Volheim
                                                    Nathan C. Volheim
